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                   EXHIBIT 3
         Case 4:23-cv-10709-FKB-APP ECF No. 20-3, PageID.601 Filed 02/14/24 Page 2 of 4


Jason Schneider

From:                  Ahn, Deana <DeanaAhn@dwt.com>
Sent:                  Wednesday, February 7, 2024 12:22 AM
To:                    Jason Schneider
Cc:                    Crawford, Donna; Nan, Mindy
Subject:               RE: Safeway v. Huron Twp - Status Update? (SUB1018097)


Jason:

Amazon stands on its objec ons as plain ﬀ’s requests are cumula ve and overly burdensome. Plain ﬀ can and should
obtain the informa on sought directly from defendant, which is a party in this suit. Defendant would have the
responsive informa on (e.g., any communica ons with Amazon and any submissions made by Amazon) and Rule 45
requires that you a empt to obtain materials directly from a party before imposing burdens on a non‐party like Amazon.
As for plain ﬀ’s requests for traﬃc studies, if Amazon commissioned any and shared them with defendant, defendant
should have them. If Amazon privately conducted traﬃc studies and did not share them with defendant, such studies
would be irrelevant to defendant’s decisions.

If you have any ques ons or would like to discuss further, please let me know. Thanks.

Best,
Deana

Deana Ahn     She/Her/Hers
Attorney, Davis Wright Tremaine LLP
P 206.757.8056 E deanaahn@dwt.com
A 920 5th Avenue, Suite 3300, Seattle, WA 98104-1610
DWT.COM


From: Jason Schneider <jschneider@mikecoxlaw.com>
Sent: Friday, February 2, 2024 1:35 PM
To: Ahn, Deana <DeanaAhn@dwt.com>
Cc: Crawford, Donna <DonnaCrawford@dwt.com>; Nan, Mindy <MindyNan@dwt.com>
Subject: RE: Safeway v. Huron Twp ‐ Status Update? (SUB1018097)

[EXTERNAL]

Deana,

Do you have an update on Amazon’s response to our subpoena?

Best,
Jason




Jason M. Schneider
The Mike Cox Law Firm, PLLC
17430 Laurel Park Drive North, Suite 120 E
                                                           1
         Case 4:23-cv-10709-FKB-APP ECF No. 20-3, PageID.602 Filed 02/14/24 Page 3 of 4
Livonia, MI 48152
jschneider@mikecoxlaw.com

From: Jason Schneider
Sent: Wednesday, January 31, 2024 8:11 PM
To: Ahn, Deana <DeanaAhn@dwt.com>
Cc: Crawford, Donna <DonnaCrawford@dwt.com>; Nan, Mindy <MindyNan@dwt.com>
Subject: RE: Safeway v. Huron Twp ‐ Status Update? (SUB1018097)

Not sure what feedback means. Is someone within Amazon gathering documents? Are you s ll trying to find the
appropriate person at Amazon? Do you have a meframe?

Best,
Jason




Jason M. Schneider
The Mike Cox Law Firm, PLLC
17430 Laurel Park Drive North, Suite 120 E
Livonia, MI 48152
jschneider@mikecoxlaw.com

From: Ahn, Deana <DeanaAhn@dwt.com>
Sent: Monday, January 29, 2024 11:32 PM
To: Jason Schneider <jschneider@mikecoxlaw.com>
Cc: Crawford, Donna <DonnaCrawford@dwt.com>; Nan, Mindy <MindyNan@dwt.com>
Subject: RE: Safeway v. Huron Twp ‐ Status Update? (SUB1018097)

Jason:

I’m awai ng feedback from Amazon. I’ll revert as soon as I hear back.

Best,
Deana

Deana Ahn     She/Her/Hers
Attorney, Davis Wright Tremaine LLP
P 206.757.8056 E deanaahn@dwt.com
A 920 5th Avenue, Suite 3300, Seattle, WA 98104-1610
DWT.COM


From: Jason Schneider <jschneider@mikecoxlaw.com>
Sent: Monday, January 29, 2024 1:48 PM
To: Ahn, Deana <DeanaAhn@dwt.com>
Subject: Safeway v. Huron Twp ‐ Status Update?

[EXTERNAL]

Deana,

                                                           2
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Do you have any updates regarding the subpoena to Amazon in the Safeway v. Huron Twp ma er?

Best,
Jason




Jason M. Schneider
The Mike Cox Law Firm, PLLC
17430 Laurel Park Drive North, Suite 120 E
Livonia, MI 48152
jschneider@mikecoxlaw.com

From: Jason Schneider
Sent: Wednesday, January 24, 2024 3:41 PM
To: deanaahn@dwt.com
Subject: Thank You and Follow‐Up

Deana,

Thanks for the call today. I took another look through our documents and confirmed that I do not have a name within
Amazon who is/was involved with the distribu on centers in Huron Township.

I will give you a call on Monday to check the status on loca ng the right resource(s) at Amazon.

Please feel free to reach out with any ques ons in the mean me.

Best,
Jason




Jason M. Schneider
The Mike Cox Law Firm, PLLC
17430 Laurel Park Drive North, Suite 120 E
Livonia, MI 48152
jschneider@mikecoxlaw.com




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